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    UNITED STATES DISTRICT COURT
1   WESTERN DISTRICT OF NEW YORK
2   ------------------------------------------------------------------X
    DOUGLAS J. HORN and CINDY HARP-HORN,
3                                                                         Civ Action No: 15-cv-701 FPG/MJR
                                       Plaintiff,
4                                                                         AFFIDAVIT OF PLAINTIFFS
            -against-
5
6   MEDICAL MARIJUANA, INC.,
    DIXIE ELIXIRS AND EDIBLES,
7   RED DICE HOLDINGS, LLC, and
    DIXIE BOTANICALS,
8                                       Defendants,
9   ------------------------------------------------------------------X

0   STATE OF IOWA              )
                                       : ss.:
1   COUNTY OF ADAIR)
2
            DOUGLAS J. HORN, being duly sworn, deposes and says:
3
4
            1.       I and my wife Cindy are the Plaintiffs in this action.
5           2.       I submit this Affidavit in Support of our motion for summary judgment on certain
6
    statutory causes of action. As such, I primarily defer to my counsel’s Declaration in Support and
7
    his Memorandum of Law, along with the Affidavit and Report of our expert Dr. Kenneth
8   Graham as to the basis for the Court to respectfully grant this Motion.
9
            3.       I offer this Affidavit to give the Court a background of facts surrounding my
0
    taking of the Dixie Elixirs product in question, which led to my termination of employment in
1   October, 2012, and giving rise to this action.
2
            4.       I am and have always been, in a team with my wife and co-plaintiff, an over-the-
3
    road trucker since 1998. Since that time, my wife and I drive across the United States hauling
4   various loads such as expedited food, pharmaceuticals and liquid chemicals. In October, 2012,
5
    we worked for Enterprise Transportation in this regard.
6
7                                                           1
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1           5.     On February 24, 2012, I was involved in a serious work-related semi-truck
2   accident in which I suffered, among other things, severe shoulder and back injuries. Over the
3   months following the accident, I submitted to physical therapy and took various pain medications
4   in an attempt to mitigate the trauma of the accident. However, at that time, those methods did not
5   work.
6           6.     In September, 2012, when we were on an assignment by our then employer
7   Enterprise Transportation, Cindy and I viewed a magazine at a book store in Texas where we had
8   stopped while off-duty. We reviewed the magazine originally to investigate the feasibility of a
9   medical marijuana product for Cindy’s mother who was inflicted with cancer, and who was
0   going through a difficult time with those treatments.
1           7.     Annexed hereto as Exhibit “1” is a copy of the first page of the magazine and the
2   advertisement page for the Dixie Elixir product in question. At the point we read the Defendants’
3   magazine advertisement, I also considered this product for myself to treat the pain I still had
4   stemming from the truck accident some seven months earlier.
5           8.     In this magazine advertisement on Page 42, Defendants’ represent:
6                   a) “. . . .new product line called Dixie X, which contains 0% THC . . .”;
7                   b) “ the non-psychoactive products . . .”
8           9.     My and my wife’s investigation of this product did not stop there. For instance,
9   we researched the product both by watching YouTube videos of the CEO of the Company,
0   “Tripp Keber”, and by reading the Frequently Asked Questions (“FAQs”).
1           10.    The YouTube videos dated August 8 and August 23, 2012 we viewed can be
2   found at:
3                  a.     https://youtu.be/Urlwtw_xQ48
4                  b.     https://youtu.be/yDjIGXS58ds
5                  c.     https://youtu.be/k42_Kpp13mk
6
7                                                   2
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1          11.     In these videos, Defendants’ CEO states continuously that the products are “THC-
2   free”, there was “no THC” and it had “0% THC.” He also said these were “wellness products.”
3          12.     Annexed hereto as Exhibit “2” on page 2, were the FAQs the Company published
4   back in September, 2012. In those, Defendants’ specifically state:
5          “What is the difference between CBD from hemp and CBD from medical
6   cannabis?” (bold in the original).
7          “While the two plants are botanically related, our hemp contains no THC and
8          numerous medical studies have shown CBD to have significant potential health
           benefits from a variety of ailments ranging from epilepsy to pain management.
9          Medical cannabis contains THC and may provide relief from various ailments,
           however, with a psychotropic effect.” Emphasis added.
0
           13.     All of their advertising that I relied upon, magazine, FAQs and YouTube videos
1
    were consistent. According to Defendants, their products had no THC, and I indeed was looking
2
    for something for pain management. It was a perfect match.
3
           14.     Most telling were the Company’s FAQs that followed over the years and which
4
    drastically changed. The Company has been warning consumers specifically not to take the
5
    product if they were subject to random drug-test screening for employment or other reasons.
6
    Annexed hereto as Exhibit “3” is the April 8, 2015 FAQ by Defendants admitting to their false
7
    advertising to which I responded in September, 2012.
8
           15.     I was subject to regular such testing (urine) over the 14 years prior to 2012 that I
9
    was a trucker. I had no incident until taking this product.
0
           16.     The reason why we specifically researched this product was to investigate the
1
    contents so that I would not jeopardize my employment. I state to the Court that I was
2
    specifically aware that I could not ingest “THC” or Tetrahydrocannabinol, which is the chemical
3
    in Marijuana that would produce a “dirty” result in any random drug screening that I would give
4
    for my employment. I knew I had to stay away from THC.
5
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7                                                     3
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1          17.     As can be seen in the multiple media in which they advertised this product, the
2   Defendants consistently represented that their products had “0% THC”, and were “THC free.”
3   After these “across the board” statements by Defendants in the magazine advertising, YouTube
4   videos and Frequently Asked Questions, I thought I could take this product without jeopardizing
5   my job.
6          18.     The Court should respectfully note that, I did not and have not smoked marijuana
7   or been around it for the 14 years I was a trucker and for the years prior thereto; and neither do I
8   have an employment history or criminal record showing any use of marijuana.
9          19.     As an over-the-road trucker, subject to regular and random drug-test screenings, I
0   was acutely aware that in addition to the prohibition from smoking marijuana, I could not take
1   any product with THC in it. However, I was also aware that I was able to take products with
2   Cannabinoids (“CBD”) in them. That is what Defendants advertised this product to be, and that’s
3   what I thought I was taking.
4          20.     On September 17, 2012, I ordered the Defendants’ “Dixie X CBD Dew Drops
5   500mg Tincture. Annexed hereto as Exhibit “4” is a copy of the paid invoice for this product.
6   Within one week of receiving this product, I then ingested it as directed by placing a dropper full
7   of the liquid in my mouth and swallowing it.
8          21.     On October 9, 2012, as I had regularly done over 14 years prior thereto, I
9   submitted to a required, random, urine drug test screening. Annexed hereto as Exhibit “5” is the
0   confirmatory Report dated October 11, 2012. I was confirmed for a positive test result for
1   “marijuana metabolite” with a result of 29 ng/ml, almost double the cutoff concentration limit.
2          22.     Almost immediately thereafter, I was terminated from my 14-year long career as a
3   trucker, and referred to required drug education courses through a Substance Abuse Professional
4   Evaluation program (“SAP”).
5          23.     Upon learning that the Defendants’ product caused me to have THC in my
6   system, I immediately (October 18, 2012) ordered another batch of the tincture for the purpose of
7                                                     4
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1   having it tested at a lab. While I ordered the 500mg tincture, Defendant mistakenly sent me the

2   100mg tincture.
3           24.     Once I received the unopened product, on or around October 29, 2012 I found the
4   lab known as “EMSL Analytical, INC” for the purpose of confirming that the defendants’
5   product I took contained THC. Annexed collectively hereto as Exhibit “6” are copies of the 1)
6   the EMSL invoice to me for this testing; 2) the Analysis confirming the Defendants’ product had

7   170 ug/g of THC in it; and 3) EMSL’s Chain of Custody document.

8           25.     Sure enough, the EMSL lab confirmed for me the Defendants’ product contained
9   THC contrary to all of their advertising materials I relied upon before taking the product.
0           26.     Even more remarkably, annexed hereto as Exhibit “7” is the email I received from
1   the National Director at EMSL lab, Scott Van Etten. This email of November 8, 2012 states:
2           “Douglas,
            Your report is attached. Since the ample contained THC, I may not be able to return it to
3           you as per our DEA registration. I am checking on that. I’ll send you an email either way
4           . . .. ”
            and later that day at 3:27 p.m.
5
            “Douglas
6
            We can’t return your sample.”
7
            27.     If the Court ever needed any evidence of the illegality of Defendants’ sending me
8
    this product in the mail to me in New York, it’s the above email and refusal by a DEA registered
9
    lab stating it was illegal to send it back!
0
            28.     Moreover, I understand through this litigation that the Defendants have produced
1
    Certificates of Analysis admitting the product indeed contained an amount of THC.
2
            29.     I brought this case, and indeed the instant motion, because I lost my career and
3
    income for 5 years, because I took this product. While the issue of my damages is clearly an
4
    issue of fact, there is no such issue as to the Defendants’ liability for sending me an illegal
5
    product through the mail, and falsely advertising it as having “0% THC” in multiple media.
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7                                                     5
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